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FMED HK_"
lN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE DS[UU¢M
WESTERN DIVISION

 

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UNITED sTATEs OF AMERICA,
Plaintiff,

v. No. 04-20244 Ml/P

RONNIE HENRY,

Defendant.

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ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS

 

This cause is before the Court on the motion of Defendant,
Ronnie Henry, through his counsel, to suppress certain evidence
against him. The motion was filed on August lO, 2004. After
numerous requests for delay of the hearing, this motion Was heard
on Tuesday, April 12, 2005. Defendant’s post hearing brief Was
received on May 6, 2005, and the Government's post hearing brief
Was received on May 16, 2005. The Court orally announced its
ruling on May 27, 2005. This order supplements that ruling

denying Defendant's motion to suppress.

A total of three witnesses testified at the April 12, 2005
hearing on Defendant’s motion: Paul Wright, Jr., a sergeant With
the Memphis Police Department; John Pasley, an officer with the

Memphis Police Department; and Marquette Williams. It appears

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that the defense assertion is that Defendant was arrested without
probable cause after his vehicle was stopped by the Memphis
Police Department on March 22, 2004. There is no dispute that
the arrest was not the result of a traffic violation; rather, it
is asserted by the United States that Defendant's arrest was the
result of a criminal investigation by the Memphis Police
Department, including the taping of certain conversations

involving the Defendant, Ronnie Henry.

According to Sergeant Paul Wright, on March 21, 2004, an
individual named James Trenell was questioned by officers of the
Memphis Police Department about several home invasion robberies.
Trenell, it is asserted, gave statements of admission and named
Ronnie Henry as the individual who participated in robberies with
him. The Memphis Police Department then recorded a conversation
between Trenell and Henry on March 22, 2004, in which Henry
stated that he was planning to commit a robbery with Patrick
Hopkins. Trenell indicated to Henry that he also wanted to be

involved in that robbery.

According to Sergeant Wright, the Memphis Police Department
then developed an operational plan to prevent further robberies
by Henry; Trenell was instructed to tell Henry that he had a

vehicle that could be used in a planned robbery and that Trenell

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had an appropriate target involving an older female, a juvenile,
and drugs and money. As part of the investigation, Trenell wore

a secret recording device when meeting with Henry.

Trenell also had advised the investigators that Henry often
carried a .357 caliber handgun which he normally hid under the

hood of the vehicle in which he was traveling.

Sergeant Wright further testified that Trenell was
instructed to meet with Henry on the evening of March 22, 2004,
at 4764 Ross Road in Memphis, Tennessee. Sergeant Wright was
able to monitor the conversation through the body wire worn by
Trenell and could hear the defendant Henry talking about a gun
that he had in his possession. Furthermore, officers observed
Henry leaving the Ross Road address and carrying an object
wrapped in a white towel which was then placed under the hood of
the vehicle. Trenell and Henry left the location and were
followed by undercover officers to Breedlove Street where Trenell
and Henry stopped at 705 Breedlove, the home of Henry and
Marquette Williams. At the Breedlove address, Memphis Police
Officers observed Henry remove the towel from underneath the hood
of the vehicle. Both Trenell and Henry went into the Breedlove
address. Subsequently, Henry and Williams exited the house on

Breedlove and Henry was seen to place the towel beneath the hood

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of a white Ford Tarus. Williams and Henry then left in that

vehicle and were stopped shortly thereafter by officers.1

The second officer to testify was John Pasley. Officer
Pasley, a 22-year veteran of the Memphis Police Department, and
currently a member of the Project Safe Neighborhood Task Force,
was part of the surveillance team cooperating in the
investigation of Henry. He set up surveillance at the Ross Road
address and observed something wrapped in a white towel. While
acting in a surveillance capacity, he was unable to see what was
actually in the towel that was placed under the hood of the White
Tarus. He followed the vehicle for a period of time from a
considerable distance and ultimately parked at a fire station
located on Breedlove anticipating resumption of the surveillance.
Somewhat to his surprise, Williams and Henry, as they drove north
on Breedlove, pulled into a house approximately 3 houses from the
fire station where Officer Pasley was waiting in an unmarked
vehicle. He was able to monitor some of the conversation
occurring, including a discussion regarding whether or not Henry
had a firearm (referred to as a “joint”). He was also able to

observe the white Tarus parked at the Breedlove location and

 

1 It should be noted that Trenell had originally been arrested on an

auto theft charge and for violation of parole. At that time, Trenell indicated
that he wished to cooperate, thus leading to the investigation of defendant
Henry.

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observed Henry take a towel from underneath the hood of that

vehicle after the hood had been popped.

Listening to a portion of the conversation between Trenell
and Henry, Officer Pasley was able to hear Henry confirm that he

had a pistol.

The final witness was Marquett Williams. Williams had
previously given a statement to the police after the March 22,
2004, arrest of Henry. The statement had been a nonecustodial
statement in which he confirmed Henry's possession of a firearm

in several portions of the statement.

During his testimony at the suppression hearing, Williams
denied having made the statements implicating Henry, including
those statements implicating Henry in the possession of a
firearm. Williams claimed ownership of the firearm and indicated
that the statements unfavorable to Henry, which had been placed
in his statement, had been placed there by the suggestion of the
examining Memphis Police Department officers, none of whom he
could remember. When asked about the history of the firearm
which he claimed was his, which had been under the hood of the
Ford Tarus, Williams was unable to recall the identity of the

individual from whom he purchased the firearm.

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Interestingly enough, while there is little dispute that, in
fact, a white towel was underneath the hood of the Ford Tarus,
Williams testified “I don't know anything about a white towel; I
did not have a gun wrapped up in a white towel.” Williams also
testified that an officer of the Memphis Police Department had
offered him money to testify against Henry (as well as other
consideration). Williams indicatedr however, that he could not

recall the name of the officer who had made such an offer,

The statement given by Williams to the police in March of
2004 is corroborated by the testimony of both Sergeant Wright and
Officer Pasley. Williams’ recantation is inconsistent with not
only the testimony of the officers, but also with the largely
otherwise uncontroverted testimony concerning a white towel
underneath the hood of the Ford Tarus. The Court determines that
Williams' testimony provided at the suppression hearing is not

credible and should be disregarded.

ANALYSIS

Defendant asserts that the search in this case was conducted
in violation of defendant’s Fourth Amendment rights.
Specifically, it is asserted that the officers lacked probable

cause to arrest the defendant.

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Under Terry v. Ohio, 329 U.S. l, 26 (1968), “[a]n
investigatory detention, a brief seizure by police based on
reasonable suspicion of criminal activity, is a narrowly drawn
exception to the probable cause requirement of the Fourth
Amendment.” “Law enforcement officers may initiate an
investigatory detention if and only if they have reasonable,
articulable suspicion of criminal activity.” ld. at 21, 22. “To
meet that standard, the government must point to specific and
articulable facts, together with rational inferences drawn from
those facts, that reasonably suggest criminal activity has

occurred or is imminent.” ld. at 21.

Here, the officers involved in Defendant's detention had a
reasonable, articulable basis for stopping the Defendant.
Defendant was a known felon and had been heard to acknowledge
possession of a weapon. The officers' observations, coupled with
the information provided by Trenell, provided more than a

sufficient basis to stop the Defendant, Ronnie Henry.

Trenell was a known informant who could be held responsible
if his allegations turned out to be untrue. Trenell had no
reason to mislead the officers and Trenell’s information had been

corroborated by the officers’ observations.

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Under the law in the Sixth Circuit, “probable cause to make
an arrest exist if the facts and circumstances within the
arresting officer's knowledge are sufficient to warrant a prudent
man in believing that the [arrestee] had committed or was
committing an offense.” Pyles v. Raisor, 60 F.3d 1211, 1215
(1995). Here the officers had probable cause to arrest the
defendant after finding a firearm underneath the hood of the
vehicle wrapped in a towel that officers had seen the Defendant
place there. Furthermore, probable cause existed to arrest the
Defendant for aggravated robbery based on Trenell’s statements to
the officers. Trenell had named the Defendant as a participant
in several armed robberies. Therefore, there were at least two

basis for the Defendant to be stopped and arrested in this case.
Defendant’s motion to suppress is hereby DENIED.

BNTERED Tsis /3 DAY or June, 2005.

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J N P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

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Honorable l on McCalla
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